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                             UNITED STATES DISTRJCT COURT
                             EASTERN DISTRJCT OF MISSOURI
                                   EASTERN DIVISION


UNITED STATES OF AMERJCA,                    )
                                             )
                      Plaintiff,             )
                                             )
      vs.                                    )   Case No. 4:19CR00806 SNLJ
                                             )
EDWARD WINGO, JR.,                           )
                                             )
                      Defendant.             )

                                            ORDER

      IT IS HEREBY ORDERED that the report and recommendation of United States

Magistrate Judge David D. Noce (#47), filed January 15, 2021 be and is SUSTAINED,

ADOPTED and INCORPORATED herein.

      IT IS HEREBY ORDERED that Defendant's Motion to Suppress Evidence and

Statements (#32) be DENIED.

      Dated this   <I ft,_   day of February, 2021.




                                                      ~~WJ-
                                             STEPlffiN.IMBA~'
                                             SENIOR UNITED STATES DISTRJCT JUDGE
